     Case: 3:13-cv-00314-MPM-SAA Doc #: 19 Filed: 07/02/14 1 of 4 PageID #: 64




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION

EARL BURDETTE
AND CORNELIA FAY PETTIS                                                                PLAINTIFFS

v.                                              CIVIL ACTION NO.: 3:13-CV314-MPM-SAA

PANOLA COUNTY, MISSISSIPPI, BY
AND THROUGH ITS BOARD OF SUPERVISORS;
PANOLA COUNTY SHERIFF, DENNIS DARBY,
IN HIS INDIVIDUAL CAPACITY AND JOHN DOES 1-10                                       DEFENDANTS

                            MOTION FOR SUMMARY JUDGMENT

        NOW COMES Panola County, Mississippi, by and through its Board of Supervisors and

Panola County Sheriff, Dennis Darby, in his Individual Capacity, and submits this Motion for

Summary Judgment, as follows:

        1. PREMISE: The primary issue will be whether the law is clearly established that a

Mississippi Sheriff has superior jurisdictional authority over the investigation of a potential state law

felony charge in his county. Beyond this, the undisputed material facts in this case clearly establish

there is no cognizable constitutional violation stated. Under the modified standard for summary

judgment applicable to these facts, there is no issue for trial and dismissal is appropriate premised

upon 1) qualified immunity for the individual defendants; and, 2) a failure of a cognizable

constitutional theory as to official claims.

        2.      SUPPORTING DOCUMENTS: In support of summary judgment, Defendants

attach the following:

                EXHIBIT -A         Incident Report by MBI Agent J. Farish 11-14-13

                EXHIBIT -B         Statement of Dep. Emily Griffin 11-14-13

                EXHIBIT -C         Statement of John Still 11-18-13
      Case: 3:13-cv-00314-MPM-SAA Doc #: 19 Filed: 07/02/14 2 of 4 PageID #: 65




                EXHIBIT -D          Statement or Eric Harris 11-14-13

                 EXHIBIT -E           Statement of Det. Edward Dickson 11-14-13

                 EXHIBIT -F          Statement of Inv. Danny Beavers 11-14-13

                 EXHIBIT-G           Statement of Dep. Sheriff Tommy Bryant 11-14-13

                 EXHIBIT-H          Statement of Inv. Jimmy Shannon 11-14-13

                 EXHIBIT -I          Statement of Jason Chrestman 11-14-13

                 EXHIBIT -J         Statement of George Renfroe 11-18-13

                 EXHIBIT -K         Statement of Rosa Wilson 11-14-13

                 EXHIBIT -L          Statement of Donald Matthews 11-14-13

                 EXHIBIT -M          Statement of Mildred Cook 11-14-13

                 EXHIBIT -N          Statement of Dustin Watts 11-14-13

                 EXHIBIT -O         Statement of Cornelia Pettis 11-14-13

                 EXHIBIT -P          Statement of Eric Harris 11-14-13

                 EXHIBIT -Q         AUDIO (Como Shooting Recording - November 14, 2013)

                 EXHIBIT -R         AUDIO (Como Shooting Radio Traffic- November 14, 2013)

          The pleadings in this cause are incorporated herein by reference and will be cited for the

record according to docket number.

          3.   BASIS FOR RELIEF: As required by Uniform District Court Rule 7.2, Defendants

are filing herewith a Memorandum of Authorities which incorporates therein a listing of the material

facts in a light favorable to Plaintiff.

         WHEREFORE PREMISES CONSIDERED, the Panola County Defendants pray that

this Court will grant as follows:

                                                  2
     Case: 3:13-cv-00314-MPM-SAA Doc #: 19 Filed: 07/02/14 3 of 4 PageID #: 66




              (A) Dismiss all claims pursuant to Fed. R. Civ. Proc. 56;

              (B) Enter Final Judgment for the Panola County Defendants in the manner required

by Fed. R. Civ. Proc. 54(b);

           (C)That this Court award the Panola County Defendants their attorney fees, costs and

expenses associated with the defense of the instant civil action pursuant to Fed. R. Civ. Proc. 11 and

42 U.S.C. §1988.

           Respectfully submitted this 2nd day of July, 2014.



                                               PANOLA COUNTY DEFENDANTS

                                               By: /s/ Daniel J. Griffith
                                               Daniel J. Griffith, MSB No. 8366
                                               Attorney for Defendants



Of Counsel:

GRIFFITH & GRIFFITH
123 South Court Street
P. O. Drawer 1680
Cleveland, MS 38732
Phone No. 662-843-6100
Fax No. 662-843-8153




                                                  3
     Case: 3:13-cv-00314-MPM-SAA Doc #: 19 Filed: 07/02/14 4 of 4 PageID #: 67




                                CERTIFICATE OF SERVICE

       I, Daniel J. Griffith, counsel of record for Panola County Defendants, do hereby certify that

on this day, I electronically filed the foregoing Motion for Summary Judgment with the Clerk of

the Court using the ECF system which gave notification of such filing to the all counsel of record

who have appeared in this action.

           Respectfully submitted this the 2nd day of July, 2014.



                                                     By: /s/ Daniel J. Griffith
                                                         Daniel J. Griffith, MSB #8366




                                                 4
